
218 S.E.2d 506 (1975)
27 N.C. App. 196
Larry G. MOZINGO et al.
v.
NORTH CAROLINA NATIONAL BANK.
No. 753SC305.
Court of Appeals of North Carolina.
October 15, 1975.
*507 Joseph F. Bowen, Jr., Greenville, for plaintiffs-appellants.
Everett &amp; Cheatham by James T. Cheatham, Greenville, for defendant-appellee.
BROCK, Chief Judge.
General Statute 1A-1, Rule 54(b) requires dismissal of this appeal because it is an attempted appeal from an order as to fewer than all the claims, and the trial court did not find that there is no just reason for delay. In such a situation, the order is subject to revision by the trial court at any time before the entry of judgment adjudicating all the claims and the rights and liabilities of all the parties. Newton v. Fire Ins. Co., N.C.App., 218 S.E.2d 231 (filed October 1, 1975); Leasing, Inc., v. DanCleve Corp., 25 N.C.App. 18, 212 S.E.2d 41 (1975), cert. denied, 288 N.C. 241; Arnold v. Howard, 24 N.C.App. 255, 210 S.E.2d 492 (1974).
Appeal dismissed.
VAUGHN and ARNOLD, JJ., concur.
